       Case 4:23-cr-00218       Document 72      Filed on 07/25/24 in TXSD        Page 1 of 2




                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

 UNITED STATES OF AMERICA                                §
                                                         §   CASE NO. 4:23-CR-218-1
 vs.                                                     §
                                                         §
 (1) HARDIK JAYANTILAL PATEL,                            §
                                                         §
                        Defendant.                       §

       JOINT MOTION FOR ORDER AUTHORIZING DEPOSIT OF SEIZED FUNDS
           INTO COURT REGISTRY IN ANTICIPATION OF RESTITUTION

         The United States of America and Defendant Hardik Jayantilal Patel, through counsel,

hereby jointly move the Court to issue an order directing the United States Customs and Border

Protection (CBP) to turn over to the U.S. District Court Clerk $17,005 in funds seized from Mr.

Patel at the time of his arrest, and currently being held for forfeiture, so that these funds may be

applied to Mr. Patel’s anticipated restitution judgment at sentencing. The Government has

conferred with CBP regarding this motion and proposed order, and the agency has no opposition.

                                           Background

         When Mr. Patel was arrested in this case in August 2023, agents executed a federal search

warrant and seized $17,0005 U.S. currency from his residence. CBP initiated administrative

forfeiture for the cash under Case No. 2023410700002201, alleging that the property was subject

to forfeiture as property involved in money laundering. Notice of the action was mailed to Mr.

Patel and posted on a government website, and Mr. Patel through his attorney has acknowledged

awareness of the forfeiture proceeding. To date, CBP has not received a petition or claim to the

funds noticed for forfeiture.
    Case 4:23-cr-00218         Document 72        Filed on 07/25/24 in TXSD         Page 2 of 2




                                    Terms of Plea Agreement

        On December 1, 2023, Mr. Patel entered a guilty plea to Count One, Conspiracy to Commit

Mail Fraud in violation of 18 U.S.C. § 1349. In his plea agreement, Mr. Patel agreed to entry of an

order directing that the cash seized from him at the time of his arrest be paid over to the court

registry in anticipation of the restitution order in this case. See Docket Entry No. 42 at ¶ 21(c).

                                          Proposed Order

        The undersigned has conferred with CBP regarding the terms of Mr. Patel’s plea agreement

and the fact that restitution will be entered in this case. CBP has agreed to forego forfeiture of the

$17,005 cash seized at or around the time of Mr. Patel’s arrest and to pay those funds to the

Southern District of Texas court registry pursuant to Court order.

        A proposed order is provided for the Court’s consideration, directing the payment of these

funds and authorizing the Clerk’s Office to accept the funds in anticipation of restitution in this

case.

                                               Respectfully Submitted,

                                               ALAMDAR S. HAMDANI
                                               United States Attorney
                                               Southern District of Texas

                                               By:     /s/ Stephanie Bauman
                                                       Stephanie Bauman
                                                       Assistant United States Attorney

AGREED:

/s/ Steven Block (electronically signed by permission)
Steven Block
Attorney for Hardik Jayantilal Patel




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